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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                            AMARILLO DIVISION

 HENRY WATKINS SKINNER,                )
                                       )
                   Plaintiff,          )
                                       )
            v.                         )    Civil Action No. 2:09-CV-281-J-BB
                                       )
 LYNN SWITZER, District Attorney       )
      31st Judicial District of Texas, )
                                       )
                   Defendant.          )


                BRIEF IN SUPPORT OF DEFENDANT’S MOTION
                         FOR SUMMARY JUDGMENT




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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                             AMARILLO DIVISION

 HENRY WATKINS SKINNER,                  )
                                         )
              Plaintiff,                 )
                                         )
              v.                         )      Civil Action No. 2:09-CV-00281
                                         )
 LYNN SWITZER, District Attorney         )
      for the 31st Judicial District     )
      of Texas,                          )
                                         )
              Defendant.                 )


                   BRIEF IN SUPPORT OF DEFENDANT’S MOTION
                            FOR SUMMARY JUDGMENT


       DNA testing “has an unparalleled ability both to exonerate the wrongly

 convicted and identify the guilty.” Dist. Attorney’s Office for Third Judicial Dist. v.

 Osborne, 129 S. Ct. 2308, 2313 (2009).        It also creates new opportunities for

 convicted criminals and their lawyers to abuse the legal system. This case is a

 paradigmatic example of that.

       The State of Texas gave Henry Skinner an opportunity at his trial to test the

 DNA evidence that he now wants tested. But Skinner and his trial attorneys made

 an informed, tactical decision to forego that opportunity.           See Skinner v.

 Quarterman, No. 2:99-CV-0045, 2007 WL 582808, at *31 (N.D. Tex. Feb. 22, 2007);

 Skinner v. Quarterman, 528 F.3d 336 (5th Cir. 2008), aff’d, 576 F.3d 214 (5th Cir.

 2009). Skinner and his lawyers knew that the evidence could only confirm his guilt

 rather than exonerate him. Indeed, Skinner had offered to plead guilty to first-
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 degree murder prior to trial in exchange for a life sentence.1 See Habeas Evid. Hr’g

 Tr. at 135; App. at 4. And Skinner’s lawyers hoped to win an acquittal by attacking

 the government’s investigation as shoddy and incomplete; leaving the remaining

 DNA evidence untested was crucial to these efforts to create doubts in the minds of

 jurors. The failure of Skinner’s trial strategy does not entitle him to change course

 in post-conviction proceedings and demand testing of the very evidence that he

 deliberately declined to test at trial.    And nothing in the Constitution requires

 District Attorney Switzer to tolerate or encourage the gamesmanship that Skinner

 has displayed in this litigation, or the piecemeal litigation tactics he has deployed to

 delay his execution date.       The State of Texas satisfied all requirements of

 constitutional due process when it offered Skinner the opportunity to test the DNA

 evidence at trial; Skinner forfeited that opportunity by his strategic refusal to test

 the evidence at that time.

       Even if Skinner were seeking to test DNA evidence distinct from the evidence

 that he declined to test at trial, District Attorney Switzer would still be entitled to

 summary judgment because Skinner cannot show that he might be actually

 innocent of the murders or that further DNA testing might exonerate him.

 Whatever the post-Osborne scope of an inmate’s procedural due-process right to

 DNA testing in state-created post-conviction procedures, the Constitution cannot

 possibly compel States to accommodate a convict’s demands for DNA testing absent


       1   Although plea negotiations are often kept confidential, Skinner accused his trial
 lawyers of ineffective assistance in his federal habeas proceedings, waiving the attorney-
 client privilege and causing his plea offer to become part of the public record.



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 a plausible showing that the tests might exonerate him. In this case, Skinner does

 not even assert in his complaint or in any document filed with this Court that he is

 in fact innocent of these murders. And he cannot, in light of his pre-trial guilty-plea

 offer and the overwhelming evidence of his guilt, establish a genuine factual

 question that further DNA testing might exonerate him, or enable him to pursue an

 actual-innocence claim in state post-conviction procedures.

       Skinner also had opportunities, in each of the Article 64 proceedings that he

 initiated in state court, to present his claim that the Constitution requires Texas to

 accommodate his demands for additional post-conviction DNA testing. Once again,

 Skinner spurned these opportunities. Because Skinner could have presented his

 federal constitutional claim in the Article 64 proceedings but never did, the doctrine

 of claim preclusion forecloses him from doing so now.

       It is apparent that Skinner and his lawyers have brought this case as a strike

 suit. They know that the out-of-pocket costs to Gray County of testing the DNA are

 negligible, as Skinner has volunteered to pay for the testing himself, while the costs

 of defending this lawsuit have been far higher. Given these stakes, it might seem

 that a rational defendant would settle and allow the DNA testing to proceed,

 especially given the abundant evidence of Skinner’s guilt. See D. Rosenberg & S.

 Shavell, A Model in Which Suits Are Brought for Their Nuisance Value, 5 INT’L REV.

 L. & ECON. 3 (1985). District Attorney Switzer has refused to follow this course,

 however, because she understands that the long-term costs to the State of giving

 into Skinner’s demands are incalculably higher. If Skinner is allowed to test this




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 DNA evidence, then every guilty criminal defendant will want to forego DNA

 testing at trial and then use the untested DNA evidence as a post-conviction

 litigation tool to endlessly delay or hinder implementation of the sentence. See, e.g.,

 Frank H. Easterbrook, Foreward: The Court and the Economic System, 98 HARV. L.

 REV. 4, 10–12 (1983) (urging courts to consider how their decisions create incentives

 influencing conduct ex ante, and warning that attempts to achieve “fair” results in

 individual disputes may produce undesirable signals from an ex ante perspective).

 Such an outcome would impose intolerable costs on prosecutors, especially in small

 counties with limited budgets, and courts cannot encourage litigation tactics that

 will lead to this result.

 I.     Skinner’s Claims Against Switzer Are Barred By the Doctrine of Claim
        Preclusion.

        The doctrine of claim preclusion (res judicata) bars litigants from presenting

 claims that they could have raised in a previous court proceeding but did not.

 Under Texas law, a res judicata defense consists of three elements: “(1) a prior final

 judgment on the merits by a court of competent jurisdiction; (2) the same parties or

 those in privity with them; and (3) a second action based on the same claims as

 were raised or could have been raised in the first action.” Igal v. Brightstar Info.

 Tech. Group, Inc., 250 S.W.3d 78, 86 (Tex. 2008); see also Armstadt v. U.S. Brass

 Corp., 919 S.W.2d 644, 652 (Tex. 1996).

        Skinner concedes that District Attorney Switzer has satisfied the first two

 elements of a claim-preclusion defense, at least with respect to his initial Article 64




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  proceeding.2 See Pl.’s Resp. to Def.’s Mot. to Dismiss at 10. He disputes only the

  third element, insisting that he was unable to raise his constitutional claims in the

  Article 64 proceedings. See id. at 12–13.

        Skinner first contends that he could not have raised his federal constitutional

  claims in the earlier proceeding because state law forbids courts to authorize post-

  conviction DNA testing outside the specific circumstances outlined in Article 64. Id.

  at 12. Skinner conveniently ignores Article VI of the Constitution, which compels

  state law to yield to the “supreme Law of the Land” and specifically enlists the

  “Judges in every State” to enforce this hierarchy.           If the Due Process Clause

  requires Texas to test Skinner’s DNA evidence and Article 64 forbids it, then state

  judges are obligated to follow the constitutional command over a state statute.

  Skinner cannot evade a res judicata defense, nor excuse his failure to present his

  constitutional arguments in the state-court proceedings, by imagining a world in

  which state judges are forbidden to follow the Constitution when it conflicts with

  state law.

        Of course, litigants may sometimes avoid claim preclusion if the first court

  lacked subject-matter jurisdiction over the relevant claim. See 18B CHARLES A.

  WRIGHT ET AL., FEDERAL PRACTICE AND PROCEDURE § 4412 (4th ed. 2011). And the

  Supremacy Clause allows states to channel constitutional litigation into an

        2   Skinner asserts that the second Article 64 judgment fails to satisfy the final-
  judgment-on-the-merits criterion, but he does not explain why. The state trial court denied
  Skinner’s motion on the merits and the Court of Criminal Appeals “affirmed” that court’s
  “judgment” on appeal. See Skinner v. State, 293 S.W.3d 196, 209 (Tex. Crim. App. 2009).
  Skinner cannot characterize this disposition as a jurisdictional dismissal, and each of the
  Article 64 proceedings provide Switzer with a claim-preclusion defense.



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  appropriate forum; small-claims courts need not be required to resolve million-

  dollar civil-rights disputes. But state district courts in Article 64 proceedings may

  entertain constitutional challenges to the State’s restrictions on DNA testing;

  prisoners commonly assert constitutional challenges along with their Article 64

  claims and state courts resolve those claims on the merits. See, e.g., Reger v. State,

  222 S.W.3d 510, 514 (Tex. App.—Fort Worth 2007, pet. ref’d.) (denying a motion for

  testing under Article 64 and rejecting an equal-protection challenge to the statute);

  Curry v. State, 186 S.W.3d 39, 43 (Tex. App.—Houston [1st Dist.] 2005, no pet.)

  (denying a motion for testing under Article 64 and rejecting a due-process challenge

  to the statute).   Although it is sometimes loosely said that a trial court “lacks

  jurisdiction” to order testing under Article 64 if the statute’s requirements are not

  satisfied, see State v. Patrick, 86 S.W.3d 592, 595 (Tex. Crim. App. 2002), an Article

  64 tribunal must resolve the merits of any attendant constitutional challenges, as

  Reger and Curry illustrate, leaving Skinner without any basis for his “futility”

  defense.

        Skinner’s next attempted excuse is that he “could not have anticipated” that

  Texas courts would apply Article 64 as they did, in a manner that denied him access

  to DNA testing. See Pl.’s Resp. to Def.’s Mot. to Dismiss at 13. How could he “not

  have anticipated” this outcome? The text of the statute is as clear as can be: No

  post-conviction DNA testing unless the applicant can show, by a preponderance of

  the evidence, that he “would not have been convicted if exculpatory results had been

  obtained through DNA testing.” TEX. CODE CRIM. P. art. 64.03(a)(2)(A). Skinner




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  would have to convince a court that an “exculpatory” test result would have caused

  the jury to acquit notwithstanding his bloody handprints throughout the house

  where the murders occurred; his admission that he was in the house during the

  murders; his failure to call the police or seek help for the victims; his decision to flee

  to Andrea Reed’s house wearing clothes soaked with the victims’ blood; his threat to

  kill Reed and her children if she called the police; and his decision to hide in a closet

  when the police arrived. Skinner v. Quarterman, 528 F.3d 336, 39–40 (5th Cir.

  2008). Any lawyer familiar with Skinner’s case would need only to read Article 64

  to know that Skinner would be facing an uphill climb in satisfying the statutory

  criteria, and that only by asserting a federal constitutional entitlement to post-

  conviction DNA testing would he have much of a chance of persuading the state

  court to authorize the testing.

        Likewise for Article 64.01(b)(1), which precludes post-conviction DNA testing

  of evidence that was previously available for testing at trial, unless the applicant

  can demonstrate an absence of “fault” and that the “interests of justice” require it.

  Skinner says that he “could not have anticipated that the Texas courts would

  unconstitutionally apply art. 64(b)(1)(B) so as to penalize him for exercising his trial

  right to put the State to its burden of proof.”       See Pl.’s Resp. to Def.’s Mot. to

  Dismiss at 13. Yet Skinner never even argued that relying on art. 64.01(b)(1)(B) to

  deny Skinner’s request would violate the Constitution; how could he possibly have

  expected the state court to base its decision on a novel constitutional argument that

  neither party presented and that was not subject to adversarial testing? Skinner




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  cannot excuse his failure to present his federal constitutional claims by acting as if

  they are so patently obvious that every judge would realize them without needing

  counsel to bring them to his attention.

        In all events, even if Skinner was surprised by the grounds on which the

  courts rejected his Article 64 motions, he appealed both trial courts’ Article 64

  rulings to the Court of Criminal Appeals, and he moved for re-hearing after the

  CCA affirmed the trial court’s ruling in the first Article 64 proceeding. Skinner v.

  State, 122 S.W.3d 808, 811 (Tex. Crim. App. 2003); Skinner v. State, 293 S.W.3d

  196, 202 (Tex. Crim. App. 2009). He had ample opportunity to raise and develop his

  constitutional due-process arguments in either the appeal or the re-hearing motion,

  in response to the allegedly unconstitutional state-court denials of his requests for

  post-conviction DNA testing. Briggs v. State, 789 S.W.2d 918, 924 (Tex. Crim. App.

  1990) (holding that an appellant does not waive error by failing to raise a facial

  constitutional challenge to a statute at trial). One who both appeals and petitions

  for rehearing cannot invoke a didn’t-see-it-coming defense to excuse himself from

  the res judicata doctrine.

        Finally, Skinner implies that his section 1983 lawsuit and the earlier Article

  64 proceedings do not “arise out of the same nucleus of operative facts.” See Pl.’s

  Resp. to Def.’s Mot. to Dismiss at 11. The Texas Supreme Court, however, holds

  that the doctrine of claim preclusion extends to claims that arise out of the “same

  subject matter,” see Hallco Tex., Inc. v. McMullen County, 221 S.W.3d 50, 58 (Tex.

  2006) (noting that Texas applies the “transactional approach” to res judicata,




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  “which requires claims arising out of the same subject matter to be litigated in a

  single lawsuit.”) (emphasis added), and Skinner cites only an unpublished district-

  court opinion to support his “same nucleus of operative facts” variant.

        Ultimately, Skinner’s federal constitutional claims are precluded under

  either standard.

        Both Skinner’s Article 64 proceedings and the section 1983 lawsuit arise out

  of the District Attorney’s decision to reject Skinner’s demands for post-conviction

  DNA testing.    That is the “same subject matter” (or, if one prefers, the “same

  nucleus of operative facts”) and it precludes Skinner’s federal constitutional claims

  in this lawsuit. Skinner notes that his federal constitutional claims turn on specific

  facts that differ from those at issue in an Article 64 proceeding. See Pl.’s Resp. to

  Def.’s Mot. to Dismiss at p. 11. But the test for res judicata is not whether the

  claims require proof of the same facts, or even whether the claims involve the same

  facts. It is whether they arise out of the same subject matter or same nucleus of

  operative facts. Hallco, 221 S.W.3d at 58. Skinner does not (and cannot) deny that

  his Article 64 claims and the federal constitutional claims that he presents in this

  case both arise out of the prosecution’s refusal to accommodate Skinner’s demands

  for post-conviction DNA testing.     And Skinner’s assertion that his section 1983

  claim raises “distinct issues of law” from the claims that he litigated in state court is

  irrelevant to a claim-preclusion defense.     See id. at 58–59.    (“Whether or not a

  cognizable distinction may be drawn between . . . claims, of course, does not answer

  the question of whether res judicata bars its as-applied challenge here. Certainly a




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  contract claim is distinct from one based in tort, but if the claims arise out of the

  same subject matter and can be brought together they cannot be asserted

  separately.”).

        The Supreme Court of Texas has emphasized the strong “public policy

  discouraging prolonged and piecemeal litigation,” Igal, 250 S.W.3d at 86, and

  Skinner has no excuse for his failure to present his federal constitutional claims in

  the Article 64 proceedings. See Migra v. Warren City Sch. Dist. Bd. of Educ., 465

  U.S. 75, 84 (1984) (holding that claim preclusion bars constitutional challenges

  under section 1983 that could have been brought in a prior state court proceeding

  because “it is more important to give full faith and credit to state-court judgments

  than to ensure separate forums for federal and state claims,” and relying on

  “notions of comity, the need to prevent vexatious litigation, and a desire to conserve

  judicial resources.”).    The current lawsuit against District Attorney Switzer

  represents an unreasonable and vexatious multiplication of Skinner’s post-

  conviction proceedings, an example of the “needless, repetitive litigation” that the

  doctrine of claim preclusion is designed to avoid. Hallco, 221 S.W.3d at 58.

        A dismissal on res judicata grounds is not only compelled by doctrine, but is

  also necessary to counter the powerful incentives of death-row inmates to engage in

  piecemeal litigation.    Only Skinner’s lawyers know why they chose to raise his

  federal constitutional claims for the first time in a civil section 1983 suit, but it is

  easy to see how their litigation tactics benefitted Skinner—even if the current

  lawsuit results (as it should) in a res judicata dismissal. By saving his federal




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  constitutional claims for a section 1983 lawsuit, and then waiting for nearly two

  years after the conclusion of the final Article 64 proceeding to bring those claims,

  Skinner has managed to prolong his post-conviction litigation and win a stay of

  execution from the Supreme Court of the United States—none of which would have

  been possible had he diligently presented his federal constitutional claims in the

  Article 64 proceedings. The benefits to Skinner of this delay more than outweigh

  the costs of enduring a res judicata dismissal at this point in the litigation,

  especially when Skinner’s weak constitutional claim had little chance of succeeding

  on the merits in the first place.

        There are no genuine issues of material fact on whether Skinner could have

  presented his federal constitutional claims in the Article 64 proceedings, and

  District Attorney Switzer is therefore entitled to judgment as a matter of law.

  II.   Skinner Cannot Establish That Switzer Violated His Constitutional Rights
        When He Had The Opportunity to Conduct DNA Testing During His Trial.

        Skinner acknowledges that the State provided him an opportunity to test the

  DNA evidence during his trial. See Br. in Support of Pl.’s Mot. For Prelim. Injunc.

  at 31–36. He also concedes that he did not use this opportunity. Id. at 34. No

  fewer than three courts have concluded that Skinner’s defense lawyers made a

  reasonable, tactical decision for forego testing because they feared that additional

  crime-scene evidence would further implicate Skinner rather than exonerate him.

  See Skinner v. Quarterman, 2007 WL 582808 *31–32; Skinner v. Quarterman, 528

  F.3d at 341–42); Skinner v. State, 293 S.W.3d at 202. Each of those courts also

  rejected Skinner’s contentions that his trial attorneys failed to satisfy the



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  constitutional standards for effective assistance of counsel.      The Fifth Circuit

  refused even to grant a certificate of appealability on this question. Skinner, 2007

  WL 582808 at *31–32; Skinner, 528 F.3d at 341–42; Skinner, 293 S.W.3d at 202.

        The federal district court in Skinner’s habeas corpus proceedings made the

  most extensive findings regarding the strategic decisions of Skinner’s trial lawyers.

  See Skinner, 2007 WL 582808 at *31–32. The district court determined that Harold

  Comer (Skinner’s trial attorney) decided to pass on further DNA testing because he

  feared, based on the overwhelming evidence of Skinner’s guilt, that the testing

  would only further implicate Skinner and provide additional incriminating evidence

  for the prosecution. The items that had already been tested, such as the bloodstains

  on Skinner’s clothing, had damaged Skinner’s case and Comer did not want

  additional inculpatory evidence to be presented to the jury. Id. at *29. The district

  court found that Comer reasonably believed that he would be unable to keep the

  test results secret from the prosecutors, as the State had custody of the evidence,

  would know what items Skinner requested for testing, and would then decide to test

  those items for themselves. Id. at *31 & n.9. Comer also decided against further

  DNA testing because he wanted to attack the government at trial for its failure to

  test all of the available DNA evidence, and use those omissions to plant seeds of

  doubt in the minds of jurors. Id. at *32.

        Skinner has not disputed any aspect of Comer’s testimony in his complaint or

  in his other filings with this Court, and even if he did, the state and federal courts’

  rejection of Skinner’s ineffective-assistance claims would nevertheless bind this




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  Court under the doctrine of issue preclusion (collateral estoppel).          (We have

  included the relevant portions of Comer’s sworn testimony, App. 7–8, and the court

  opinions evaluating Comer’s performance, App. 50–53, 71, 82–83, in the appendix to

  this motion.)

        This undisputed evidence entitles District Attorney Switzer to judgment as a

  matter of law. Skinner’s trial attorneys, acting as his agents, made a sensible and

  strategic decision to forego DNA testing. Defense counsel knew that Skinner had

  offered to plead guilty to first-degree murder in exchange for a life sentence and

  that the evidence of his guilt was overwhelming; any reasonable lawyer in their

  situation would conclude that further DNA testing was far more likely to implicate

  Skinner rather than exonerate him.        They also hoped to win an acquittal by

  criticizing the prosecution for its failure to test all the remaining DNA evidence.

  The Due Process Clause cannot entitle a criminal defendant to forego DNA testing

  at trial as part of his strategy to win an acquittal, and then, when that strategy

  fails, to turn around and assert a constitutional entitlement to test in post-

  conviction proceedings the very evidence that he declined to test during his trial.

  This would confer nothing less than a constitutional right to litigate by

  sandbagging. See Osborne, 129 S. Ct. at 2317 (citing with approval State laws that

  “deny [post-conviction DNA] testing to those who declined testing at trial for tactical

  reasons”); id. at 2329 (Alito, J., concurring) (“When a criminal defendant, for tactical

  purposes, passes up the opportunity for DNA testing at trial, that defendant . . . has

  no constitutional right to demand to perform DNA testing after conviction.




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  Recognition of such a right would allow defendants to play games with the criminal

  justice system.”).    And it cannot be reconciled with the doctrine of procedural

  default or the federal habeas statute’s restrictions on evidentiary hearings, which

  establish that criminal defendants forfeit claims when they pass on their

  opportunities to present arguments or evidence in state-court proceedings.        See

  Wainwright v. Sykes, 433 U.S. 72 (1977); 28 U.S.C. § 2254(e)(2). Texas satisfied all

  requirements of constitutional due process when it offered Skinner the opportunity

  to test the DNA evidence at his trial. By spurning that opportunity, Skinner has

  forfeited any entitlement to test that evidence in post-conviction proceedings.

         Skinner thinks that the Constitution requires Texas to accommodate his

  demands for post-conviction DNA testing notwithstanding this calculated decision

  to forego the opportunity at trial.   First, Skinner notes that Texas had not yet

  enacted Article 64 at the time of Skinner’s trial, and suggests that this absolves

  Skinner and his attorneys of any intent to sandbag. See Br. in Support of Pl.’s Mot.

  for Prelim. Injunc. at 32. But there were other avenues to pursue post-conviction

  DNA testing prior to the enactment of Article 64, including federal habeas

  proceedings, section 1983 actions, and attempting to pressure the local district

  attorney to voluntarily test the evidence. Skinner himself has invoked each of these

  mechanisms in his efforts to secure DNA testing.           See Compl. ¶¶ 21–26.   His

  suggestion that gamesmanship by criminal defendants was inconceivable at the

  time of his trial defies reality.




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         Second, Skinner argues that District Attorney Switzer’s stance imposes an

  “unconstitutional condition” because it withholds the benefit of post-conviction DNA

  testing from criminal defendants who choose to put the prosecution to its proof

  rather than introduce evidence on their own behalf. See Br. in Supp. of Pl.’s Mot.

  for Prelim. Injunc. at 32–33. But Skinner cannot be serious when he asserts that

  “the government may not require a beneficiary to surrender a constitutional right in

  order to obtain a benefit from the government, even if it otherwise could have

  withheld the benefit altogether.”      Id.   On this reasoning, all plea bargaining is

  unconstitutional, because it offers a benefit to criminal defendants (reduced charges

  or a reduced sentence) that they can obtain only by surrendering their

  constitutional right to put the government to its proof at trial. It would mean that

  Skinner himself was complicit in an attempted constitutional violation when he

  offered to plead guilty to first-degree murder, and surrender his constitutional right

  to a jury trial, in exchange for a life sentence.

         Giving new meaning to the saying “no good deed goes unpunished,” Skinner

  argues that the Constitution forbids States to establish procedures for post-

  conviction DNA testing unless they also permit criminal defendants to sandbag at

  their trials. Anything less than that would present the so-called “Hobson’s choice”

  that Skinner claims is foreign to the Constitution.3 Br. in Supp. of Pl.’s Mot. for


         3 Skinner is misusing the phrase “Hobson’s choice” by equating it with a decision

  that involves only undesirable choices. A Hobson’s choice arises when one is given the
  option of taking the one thing offered or nothing at all. See, e.g., Bryan A. Garner, A
  Dictionary of Modern Legal Usage 404 (2d ed. 1995) (“Tradition has it that Thomas Hobson
  (1549–1631), a hostler in Cambridge, England, always gave his customers only one choice
  among his horses: whichever one was closest to the door.”).


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  Prelim. Injunc. at 32. But District Attorney Switzer’s resistance is not imposing an

  unconstitutional condition at all; it represents nothing more than a straightforward

  application of principles derived from the doctrines of res judicata and forfeiture. A

  litigant who has an opportunity to test DNA evidence at trial and foregoes that

  opportunity for strategic reasons cannot obtain post-conviction DNA testing without

  encouraging other litigants to engage in similar forms of gamesmanship, and that

  more than suffices to justify Switzer’s refusal to yield to Skinner’s demands.

         Third, Skinner contends that the State should have to prove that Skinner

  himself “knowingly and willingly acquiesced” in his trial lawyers’ decision not to

  test the DNA evidence. See Br. in Supp. of Pl.’s Mot. for Prelim. Injunc. at 34. That

  is demonstrably false. Lawyers are agents, and their actions are imputed to their

  clients regardless whether the principals “knowingly and willingly acquiesced.” See

  Coleman v. Thompson, 501 U.S. 722, 753 (1991) (“[T]he attorney is the petitioner’s

  agent when acting, or failing to act, in furtherance of the litigation, and the

  petitioner must ‘bear the risk of attorney error.’”); see also People v. Rathbun, 21

  Wend. 509, 543 (N.Y. Sup. Ct. 1839) (“A prisoner . . . who defends by counsel, and

  silently acquiesces in what they agree to, is bound as any other principal by the act

  of his agent.”).

         What Skinner is really asking for is a holding that the Constitution requires

  States to resurrect the regime of Fay v. Noia, 372 U.S. 391 (1963), and apply it to

  every litigant seeking post-conviction DNA testing. Under the Fay regime, which

  the Supreme Court long ago repudiated in Wainwright, 433 U.S. at 87–88, a state




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  prisoner can be deemed to forfeit his federal constitutional claims only if he

  “deliberately bypassed” an opportunity to present them in earlier proceedings. Id.

  Fay represents the most generous waiver rules that the Supreme Court has ever

  devised; it went so far as to hold that trial counsel’s deliberate, strategic decision to

  forego a constitutional claim at trial would not constitute a waiver in federal habeas

  proceedings if the client did not participate in the decision. Fay, 372 U.S. at 439. It

  also proved to be unworkable because it (unsurprisingly) encouraged criminal

  defendants to engage in “sandbagging” and piecemeal litigation. See Wainwright,

  433 U.S. at 89.

        This is the regime that Skinner wants this Court to impose on the States as a

  matter of federal constitutional command. But the notion that the Constitution’s

  due-process clause requires States to apply Fay’s “deliberate bypass” rule to

  litigants seeking post-conviction DNA testing cannot be reconciled with the

  Supreme Court’s repudiation of Fay, and its persistent recognition that criminal

  defendants forfeit their constitutional claims by failing to present them at trial.

  See, e.g., Wainwright, 433 U.S. at 87–89.        It cannot be that the Constitution

  requires states to adopt waiver rules for post-conviction DNA testing that are more

  generous than the procedural-default regime that the Supreme Court applies to

  constitutional rights in general.

        Skinner notes that the federal Innocence Protection Act adopts a Fay-like

  notion of waiver, but that observation does nothing to show that Texas is violating

  the Constitution by adopting a more stringent forfeiture regime.           He nowhere




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  explains how congressional legislation informs the meaning of the Constitution’s

  due-process clause, other than to offer a bald assertion that Texas’s decision to

  depart from the congressionally endorsed regime provides “powerful evidence” that

  the State is violating the Due Process clause by holding Skinner to the tactical

  decisions of his trial lawyers. The premise behind this assertion is that any post-

  conviction DNA regime enacted by Congress must represent the constitutional

  minimum, but Congress is allowed to establish federal statutory rights that extend

  beyond the bare minimum required by the Constitution.            See, e.g., Religious

  Freedom Restoration Act of 1993 (RFRA), 107 Stat. 1488, 42 U.S.C. § 2000bb et seq.;

  Religious Land Use and Institutionalized Persons Act of 2000 (RLUIPA), 114 Stat.

  803, 42 U.S.C. § 2000cc et seq.

        And in all events, the Innocence Protection Act adopts more generous rules of

  forfeiture because it contains other restrictions that prevent guilty convicts from

  abusing the system.     18 U.S.C. § 3600(a)(1) requires applicants seeking post-

  conviction DNA to assert, under penalty of perjury, that they are actually innocent

  of the crime of conviction. This not only deters guilty convicts from asking for post-

  conviction DNA testing; it also ensures that lawyers will avoid representing clients

  who they know are guilty, which could expose them to criminal liability or

  disbarment for suborning perjury.

        Skinner would not qualify for DNA testing under the standards of the federal

  Innocence Protection Act, because he has not submitted any sworn statement

  asserting his actual innocence. He does not even allege in his Complaint that he is




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  actually innocent, and his filings in his Court (as best we can tell) have carefully

  avoided any declaration of actual innocence. There is a great distance between a

  statement that “Mr. Skinner has continued to declare his innocence through almost

  fifteen years of post-conviction appeals,” see Br. in Support of Pl.’s Mot. for Prelim.

  Injunc. at 1, and a statement that “Mr. Skinner is innocent.” Guilty litigants cannot

  utter the latter statement without exposing their lawyers to disciplinary action or

  criminal prosecution, yet lawyers can freely assert the former statement even when

  they know their client is guilty.

        Article 64 does not require a sworn declaration of actual innocence for those

  seeking DNA testing. It requires only that the applicant submit a sworn affidavit

  “containing statements of fact in support of the motion.” TEX. CODE CRIM. P. art.

  64.01(a). So it is only to be expected that Texas would adopt stricter forfeiture rules

  to deter guilty criminal defendants from pursuing post-conviction DNA testing on

  account of their deliberate decisions not to test that evidence at trial. Either way,

  the Due Process clause permits States to establish mechanisms to deter abuses of

  the post-conviction DNA testing procedures that they extend to their convicted

  inmates.   See Osborne, 129 S. Ct. at 2317 (recognizing the “need for certain

  conditions on access to the State’s evidence,” and citing with approval State laws

  that “deny testing to those who declined testing at trial for tactical reasons”).

  Imposing stringent forfeiture rules (as Texas does), or requiring applicants to




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  submit a sworn affidavit (as the federal statute does), each represent a

  constitutionally permissible means of curbing abuses.4

         Fourth and finally, Skinner argues that even if he “deliberately bypassed” the

  opportunity to test his DNA at trial, the Constitution still requires the State of

  Texas to allow him post-conviction DNA testing, because even a criminal

  defendant’s deliberate gamesmanship “should not bar him from asserting his

  constitutionally-protected rights.”        On this view, constitutional rights are

  inalienable and can never be forfeited, even by a defendant who decides for strategic

  reasons not to raise claims at trial, with the intent of springing them later on

  appeal or in post-conviction proceedings. This position cannot be reconciled with

  Wainwright or any of the Supreme Court’s decisions on waiver and forfeiture, or, for

  that matter, with any sensible notion of how to run a criminal-justice system.5

  III.   Skinner Cannot Establish That Switzer Violated His Constitutional Rights
         When DNA Testing Will Not Exonerate Him.

         District Attorney Switzer is entitled to summary judgment for an additional,

  independent reason: Skinner has failed to show that he might be actually innocent

         4  Sixteen other states plus the District of Columbia impose the same forfeiture rule
  as Texas, refusing DNA testing to prisoners who failed to test available evidence at trial.
  See ALA. CODE § 15-18-200(e)(2)(b); ARK. CODE ANN. § 16-112-201(a); DEL. CODE ANN. tit.
  11, § 4504(a)(2); D.C. CODE § 22-4135(d)(1); GA. CODE ANN. § 5-5-41(c)(3)(B); IDAHO CODE
  ANN. § 19-4902(b); ME. REV. STAT. ANN. tit. 15, § 2138(10)(c); MINN. STAT. § 590.01(1a)(2);
  MO. REV. STAT. § 547.035(2)(3); NEV. REV. STAT. § 176.0918(3)(e); N.D. CENT. CODE § 29-
  32.1-15(1)(b); OHIO REV. CODE ANN. § 2953.74(B); 42 PA. CONS. STAT. § 9543.1(a)(2); UTAH
  CODE ANN. § 78-35a-301(4); VA. CODE ANN. § 19.2-327.1(A); W. VA. CODE ANN. § 15-2B-
  14(f)(6)(B); WYO. STAT. ANN. § 7-12-303(d).

         5 Skinner does not tell us whether any limits exist on his inalienability notion. Does
  he believe that an Article 64 applicant who decides, for strategic reasons, to test only a
  subset of the available DNA evidence has a constitutional right to demand another round of
  post-conviction DNA testing? And another one after that?



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  of the crime or that further DNA testing might exonerate him. States that establish

  post-conviction proceedings have no constitutional obligation to grant DNA testing

  to every prisoner who demands it; the Constitution allows States to limit this

  privilege to convicts who make plausible showings that DNA testing might

  exonerate them. See Osborne, 129 S. Ct. at 2317 (citing with approval state statutes

  that impose a “requirement of materiality” on those seeking post-conviction DNA

  testing). Skinner has made no such showing here.

        Skinner does not even allege his actual innocence of these crimes in his

  Complaint or in any other document that he has filed with this Court. Without

  such an allegation, there is no disputed question of fact over whether Skinner in

  fact committed these murders. Because DNA testing can prove innocence only for

  those who are actually innocent, District Attorney Switzer is fully justified in

  resisting Skinner’s demands for the sole reason that Skinner’s actual guilt is

  undisputed. If there is no factual dispute over Skinner’s guilt, then there is no

  factual dispute that post-conviction DNA testing might prove his innocence.

        Even if Skinner had alleged his innocence, he would still be unable to

  establish a genuine issue of material fact on these issues. Mere allegations are

  insufficient to survive a summary-judgment motion; Skinner must produce evidence

  showing that post-conviction DNA testing might prove his innocence. See FED. R.

  CIV. P. 56(c). And Skinner cannot make this showing given the overwhelming and

  undisputed evidence of his guilt.




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        Skinner admits that he was in the house during the murders. See Skinner

  Sup. Ct. Br. at 2.    He previously told Howard Mitchell that he would kill his

  girlfriend, Twila, if she were ever unfaithful to him. See Skinner v. State, 956

  S.W.2d 532, 535, n.3. (Tex. Crim. App. 1997). After Twila and her sons, Randy and

  Elwin, were stabbed and strangled, Skinner did not call the police or seek help for

  them. Instead, he fled to his former girlfriend Andrea Reed’s house, covered in the

  victims’ blood, wearing socks but no shoes. At Reed’s house, Skinner tried to stitch

  a cut wound in the palm of his hand rather than go to the hospital. He confessed to

  Reed that he thought he had killed Twila and threatened to kill Reed and her

  children if she called the police. See Skinner, 2007 WL 582808, at *2–*5. When the

  police arrived at Reed’s house, Skinner hid in a closet, and when told he was being

  arrested on outstanding warrants, he replied, “Is that all?” See Trial Tr.25.361–

  362; Tr.27.789–790.

        On direct appeal, Skinner conceded that the prosecution’s evidence was

  sufficient to show that he killed Twila and Elwin. Skinner, 956 S.W.2d at 536–537.

  And prior to his trial, Skinner offered to plead guilty to first-degree murder in

  exchange for a life sentence. He did not offer to plead nolo contendere; he offered to

  plead guilty, a process by which one confesses in open court to first-degree murder.

  See Habeas Evid. Hr’g Tr. at 135.

        Skinner cannot make any genuine showing that he is actually innocent, or

  that further DNA testing will help him establish his actual innocence. This reason

  alone justifies District Attorney Switzer’s refusal to accommodate Skinner’s




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  demands for post-conviction DNA testing, and entitles her to judgment as a matter

  of law.

                                  CONCLUSION

        We respectfully request that this Court enter judgment in favor of District

  Attorney Switzer.

                                     Respectfully submitted,

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                              CERTIFICATE OF SERVICE

        I certify that on June 2, 2011, the above and foregoing document was served,
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